    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 1 of 14



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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION


 JACOB SMITH,                                 CV-20-00018- BMM-JTJ

             Plaintiff,

       vs.                                       AFFIDAVIT OF
                                                CATHY JOHNSON IN
 BUTTE PRERELEASE CENTER and               SUPPORT OF DEFENDANT
 MIKE THATCHER, BOARD OF                    MICHAEL’S MOTION TO
 PARDONS AND PAROLE and                   DISMISS PURSUANT TO FRCP
 MEMBERS IN THEIR OFFICIAL                          12(b)(1)
 CAPACITY, DEPARTMENT OF
 CORRECTIONS and DIRECTOR
 MICHAEL IN HIS OFFICIAL
 CAPACITY,
             Defendants.

STATE OF MONTANA              )
                              : ss.
County of Powell              )




                                                    AFFIDAVIT OF CATHY JOHNSON
                                                                         PAGE 1
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 2 of 14



      I, CATHY JOHNSON, declare under penalty of perjury that the following is

true and correct:

      1.     I am a competent adult citizen of the State of Montana, I am competent

to testify, and I have personal knowledge of the following facts.

      2.     I am not a party to this lawsuit, but I am familiar with the facts involved.

      3.     Jacob Smith is an inmate at MSP with whom I am personally familiar.

      4.     I am currently employed by the Montana Department of Corrections

(DOC or Department) as an Institutional Probation and Parole Officer (IPPO) at

Montana State Prison (MSP).

      5.     I have been employed by the Department and have held the position of

IPPO since 2007.

      6.     Prior to 2007, I was employed by the Montana Board of Pardons and

Parole (BOPP or Board) for fifteen years.

      7.     As an IPPO, I provide the coordination necessary for the Board of

Pardons and Parole, MSP, Probation & Parole Officers, and Prerelease Centers to

expedite the transition of inmates from MSP.

      8.     As an IPPO, I act as a liaison between MSP, the BOPP, the DOC

Probation & Parole Division (PPD) and prerelease centers in Billings, Bozeman,

Butte, Great Falls, Helena, and Missoula.




                                                             AFFIDAVIT OF CATHY JOHNSON
                                                                                  PAGE 2
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 3 of 14



      9.     Prerelease centers are community based correctional facilities operated

by non-profit Montana corporations under contract with the DOC. The facilities

provide supervision, counseling, assistance in locating employment, life skills

training and guidance for probationers, parolees, conditionally paroled inmates and

a small number of inmate workers. Prerelease centers function as a component of

the correctional system.

      10.    The DOC operates an Inmate Worker program that places inmates from

MSP and other secure facilities on work assignments to prerelease centers and other

community corrections facilities.

      11.    An inmate worker is an offender who upon approval of the PPD, a

screening committee, and the BOPP has received a work assignment at a prerelease

center or PPD facility, resides at the facility, and is compensated for the work.

      12.    Inmate work assignments to prerelease centers are voluntary

assignments for which an inmate must apply.

      13.    Prerelease centers provide room and board to inmate workers exempt

from the service charges applicable to traditional prerelease program participants.

The facilities charge the DOC the daily per diem rates as outlined in the facilities’

contracts and pay inmate workers for the work from the per diem at rates ranging

from $6 to $12 per day.




                                                           AFFIDAVIT OF CATHY JOHNSON
                                                                                PAGE 3
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 4 of 14



      14.    Inmate workers assigned to prerelease centers are not parolees. Inmate

workers are not allowed passes out of the facilities. Inmate workers may only leave

the facilities supervised or escorted by facility staff.

      15.    An inmate worker’s length of stay at a facility is typically 180 days.

      16.    To be eligible to participate in an inmate worker program, an inmate

must satisfy several eligibility criteria. Being within 18 months of parole eligibility

or discharge, having an endorsement by the Board, having no warrants or detainers,

and having no medical restrictions that may conflict with work requirements are just

some of the eligibility criteria.

      17.    An inmate worker assignment requires several levels of review and

approval. The inmate worker application process begins with an endorsement by the

Board. The inmate may then be referred to the inmate worker program by a case

manager or an IPPO. The case manager or IPPO forwards a referral packet of

information to a screening committee including a representative of the prerelease

center for review and approval or denial.

      18.    If approved at screening, the application is processed by the IPPO, who

collects information and signatures from the inmate, the MSP Infirmary, the

prerelease, and from the DOC.

      19.    The prerelease reviews medical information from the inmate and the

MSP Infirmary to ensure all job assignments are in the best interest of the inmate



                                                            AFFIDAVIT OF CATHY JOHNSON
                                                                                 PAGE 4
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 5 of 14



and the prerelease. The prerelease medical staff and the prerelease director or

administrator must approve the application. The final approvals required are by a

DOC Prerelease Program Manager and the DOC Clinical Services Division, which

reviews for medical clearance.

      20.    The IPPO documents signatures and information on three forms: a

Medical Information form, a Worker Position Agreement, and an Inmate Worker

Request Form. Only when the Prerelease Contract Manager and the Clinical Services

Division designee have signed off on the Inmate Worker Request Form is the

application process complete.

      21.    Finally, upon approval and prior to the inmate worker’s transfer to the

prerelease center, the IPPO will determine a departure date, arrange for victim

notifications, coordinate transportation, and complete other necessary arrangements.

      22.    I have twice worked with Jacob Smith to refer him to the inmate worker

program and each time he has ceased cooperating partway through the process.

      23.    The first time I worked with Smith on an application for the inmate

worker program was in 2018 after the Board of Pardons and Parole denied Smith

parole on October 10, 2018 and endorsed Smith to complete the Chemical

Dependency-Intensive Treatment Unit (CD-ITU) program and a Prerelease

Extended Stay program or Inmate Worker program. Smith signed up to begin

treatment and I started a referral for Smith to the inmate worker program so he could



                                                          AFFIDAVIT OF CATHY JOHNSON
                                                                               PAGE 5
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 6 of 14



transfer to a prerelease without delay after treatment. Smith’s referral packet was

approved at screening by the Butte Prerelease Center in December 2018. However,

Smith did not attend treatment as scheduled and his application to the Butte

Prerelease stalled. The referral did not result in a work assignment for Smith.

      24.    During the 16 months between January 22, 2019, and April 28, 2020,

Smith communicated nothing further to me about his application for an inmate

worker assignment to the BPRC.

      25.    On April 22, 2020, the Board of Pardons and Parole denied Smith

parole and endorsed him again for both Level 3.5 chemical dependency treatment

and prerelease inmate worker or extended stay resident, which I learned immediately

in the course of my duties as an IPPO.

      26.    On April 23, 2020, I contacted Administrative Assistant Nicole Bugni

at the BPRC to inquire whether the BPRC’s approval at screening was still valid. I

asked her whether the prerelease center would still accept Smith as an extended stay

resident or as an inmate worker after he completed chemical dependency treatment.

Bugni replied that the BPRC was still willing to take Smith as an inmate worker but

would not take him into an extended stay program.

      27.    Even though the BPRC still approved of Smith’s referral, the inmate

worker application process would have to be completed and Smith’s application

approved before a work assignment at the BPRC could be offered to Smith.



                                                           AFFIDAVIT OF CATHY JOHNSON
                                                                                PAGE 6
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 7 of 14



      28.    On April 28, 2020, Smith wrote an Offender/Staff Request (OSR) to me

asking, “Do I need to reapply for prerelease since its been 18 months since my Butte

application was approved?” Smith asked me to help him re-apply if he had to do so.

      29.    On May 4, 2020, I responded to Smith’s OSR and advised him that “[i]t

sounds like Butte is still willing to take you as an inmate worker followed by resident

after you have completed a level 3.5 CD treatment program.” In my response, I asked

whether he intended to get treatment in CD-ITU or at CCP. Smith did not respond

to my question.

      30.    On May 9, 2020, Smith wrote an OSR to me and stated that since being

accepted as an inmate worker at the BPRC in 2018 he had developed two chronic

medical issues. Smith asked what would happen if he went to the prerelease center

and could not fulfill the duties required. Smith also asked whether the BPRC should

be made aware of his medical issues.

      31.    On May 28, 2020, I responded to Smith’s OSR. I advised him that when

he showed progress toward getting treatment, we would get started on the paperwork

for an inmate worker assignment to the BPRC. I advised him that the process would

include obtaining updated medical information from the MSP Infirmary, which

would be sent to the BPRC with the other paperwork for review. I advised him that

the medical information would also be reviewed by the DOC Clinical Services

Division.



                                                            AFFIDAVIT OF CATHY JOHNSON
                                                                                 PAGE 7
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 8 of 14



      32.       On July 6, 2020, Smith wrote an OSR to me and stated that I was

“failing to provide me [Smith] with a pre-release application which the Butte

prerelease is entitled to review based upon current medical information.”

      33.       On July 21, 2020, I responded to Smith’s OSR.

                Mr. Smith: a new prerelease app is not required—I already
                verified with BPRC that your approval there is still valid and I
                also confirmed they are not willing to take you any way except
                as an inmate worker first. As I indicated previously though, none
                of that can happen until you are in CD-ITU and showing
                progress. Are you in ITU? If so, the next step in the process is
                the inmate worker paperwork. I have attached the forms for you
                to complete. As I explained earlier, part of that process involves
                input from MSP Infirmary staff and I will get that as soon as I
                have the completed forms back from you.

      34.    I attached to my response on July 21, 2020, an Inmate Worker Medical

Information form and a blank Work Position Agreement for Smith to complete and

return to me.

      35.    On July 25, Smith wrote an OSR to me requesting copies of his prior

OSR’s. He still had not answered my repeated question whether he intended to

complete treatment and he still had not returned the forms I sent on July 21, 2020.

      36.    On July 26, 2020, Smith wrote an OSR to IPPO Supervisor Ed Foley

claiming that Smith had not received the paperwork I sent to him. Smith also

advised, for the first time, that Smith was currently participating in the CD-ITU

program and would graduate from treatment the following week.




                                                             AFFIDAVIT OF CATHY JOHNSON
                                                                                  PAGE 8
    Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 9 of 14



      37.    On July 30, 2020, I confirmed with prison staff that Smith was

participating in the treatment program and then I responded to Smith’s July 25 OSR.

             Mr. Smith: Attached are copies of all the OSR’s I have received
             from you. I received confirmation today that you are scheduled
             to complete ITU on 8-5-20. Have you completed the inmate
             worker forms I sent you on 7-21? I need those back before we
             can move on to the next step, which is getting input from MSP
             Infirmary staff. Please complete and return those to me as soon
             as possible, if you have not done so already.

      38.    On August 12, 2020, I confirmed with MSP staff that Smith had

completed the CD-ITU program on August 5.

      39.    On August 17, 2020, IPPO Supervisor Ed Foley and I met with Smith.

Smith still had not returned the Medical Information form and the Work Position

Agreement that I sent to him on July 21, so at that meeting I provided Smith another

set of the two forms to complete and return to me.

      40.    On August 18, 2020, I received the completed forms back from Smith.

      41.    On the Work Position Agreement Smith had placed his signature but

had also written:

             This agreement neglects to describe accommodations required
             under the Americans with Disabilities Act. Therefore, I cannot
             sign this contract under the above conditions. See Jacob Smith v.
             Mike Thatcher case no. cv-00018-BMM-JTJ.

      42.    On the Medical Information form, in response to the question whether

he had any injuries or physical limitations, Smith checked “Yes” and wrote, “knees,

bilateral effusions/bursitis, osteoarthritis, chronic LUTS untreatable.”


                                                           AFFIDAVIT OF CATHY JOHNSON
                                                                                PAGE 9
   Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 10 of 14



      43.    On August 19, 2020, I submitted the Medical Information form to the

MSP Infirmary and received it back from Assistant Director of Nursing Todd Boese

on August 20, 2020. Boese also provided an Institutional Transfer Form

summarizing Smith’s current medical status to facilitate a continuity of care between

the MSP Infirmary and the BPRC. On both documents Boese noted that Smith had

a pending appointment for an orthopedic consultation.

      44.    On August 20, 2020, I emailed Boese asking him to clarify whether

Smith had any work restrictions or limitations.

      45.    On August 20, 2020, Boese replied that any existing restrictions should

be listed in the computerized Offender Management Information System (OMIS).

Boese added, “However, considering his past treatment certain work could pose

concerns.”

      46.    On August 31, 2020, I emailed Boese again noting that no restrictions

were listed in OMIS and asking Boese to elaborate on what concerns there might be.

I specifically asked Boese if Smith would be okay to go to a prerelease as an inmate

worker.




                                                          AFFIDAVIT OF CATHY JOHNSON
                                                                              PAGE 10
   Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 11 of 14



      48.   On September 1, 2020, Boese replied, “This inmate has many chronic

pain issues but there is no medical hold prohibiting placement in a Pre-release.” I

attached Boese’s reply and the Institutional Transfer Form summarizing Smith’s

medical status to Smith’s Medical Information form and incorporated those by a

reference in the “IPPO Comments” section of the form

      49.   On September 1, 2020, I sent three forms to the BPRC for review: the

Work Position Agreement, the Medical Information form, and an Inmate Worker

Request.

      50.   In response, I received an email from BPRC Administrator Jay Grant

advising that Smith appeared to be refusing to sign the Work Position Agreement

and that the BPRC could not review and approve Smith’s application materials until

Smith signed.

      51.   Without a signed Work Position Agreement and a completed Request

Form, I could not submit those with the Medical Information form to the Contract

Manager for approval and to the Clinical Services Division for medical clearance.

      52.   On September 3, 2020, I presented another copy of a Work Position

Agreement for a Food Services position to Smith and advised him that his signature

was required to advance his application through the process. Smith refused to sign

the Agreement but did write, “I’m waiting for results from an orthopedic MRI

recommendation before I commit to signing a contractual obligation to work.”



                                                         AFFIDAVIT OF CATHY JOHNSON
                                                                             PAGE 11
   Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 12 of 14



      53.    I advised Smith to contact me when he had the information that he

needed to make a decision so that I could resume the application process. I have had

no contact from Smith since September 3, 2020.

      54.    The BPRC has approved Smith’s referral to the inmate worker program

so that he can apply for a work assignment at the BPRC, but Smith has still not

completed the inmate worker application process so that the application can be

approved or denied by the BPRC and by the DOC. Smith is not an inmate worker

with a work assignment at the BPRC.

      55.    The BPRC is located at 62 West Broadway Street in Butte, Montana.

The BPRC has ADA accessible rooms for residents on the first floor and more rooms

for residents on the second floor.

      56.    The work site for inmate workers assigned to work Food Services at the

BPRC is a kitchen on the first floor of 111 West Broadway Street in Butte, less than

half a block and almost directly across the street from the BPRC.

      57.    The BPRC performs services for the DOC pursuant to a contract,

Contract 06-052-ACCD, between the DOC and Community, Counseling, and

Correctional Services, Incorporated (CCCS). Contract 06-052-ACCD includes a

provision requiring CCCS to comply with all applicable federal, state, or local

laws, rules and regulations, including the Montana Human Rights Act, the Civil

Rights Act of 1964, the Age Discrimination Act of 1975, the Americans with



                                                         AFFIDAVIT OF CATHY JOHNSON
                                                                             PAGE 12
Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 13 of 14
   Case 6:20-cv-00018-BMM-JTJ Document 22-1 Filed 10/13/20 Page 14 of 14



                             CERTIFICATE OF SERVICE

      I hereby certify that on this date I electronically filed the foregoing document

with the clerk of the court for the United States District Court for the District of

Montana, using the CM/ECF system.

      Participants in the case who are registered CM/ECF users will be served by

the CM/ECF system.

      I hereby certify that on the 13th day of October a copy of the foregoing was

served on the following persons by the following means:

       1/3    CM/ECF
              Hand Delivery
       2      Mail
              Overnight Delivery Service
              Fax
              E-Mail


 1. Clerk, U.S. District Court         3. Thomas Leonard
                                          Boone Karlberg, PC
 2. Jacob Smith                           201 W. Main St., Ste. 300
    I.D. # 41666                          Missoula, MT 59807
    Montana State Prison                  Counsel for BPRC and Mike Thatcher
    700 Conley Lake Road
    Deer Lodge, MT 59722


                                        /s/ Roger Renville
                                        Roger Renville
                                        Special Assistant Attorney General
                                        Attorney for DOC Director Michael


                                                           AFFIDAVIT OF CATHY JOHNSON
                                                                               PAGE 14
